Case 2:17-cv-00456-JRG Document 201 Filed 12/12/18 Page 1 of 1 PageID #: 7499



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

WEATHERFORD TECHNOLOGY                            §
HOLDINGS, LLC, WEATHERFORD U.S.,                  §
L.P.,                                             §
                                                  §
                Plaintiffs,                       §
                                                  §
v.                                                §   CIVIL ACTION NO. 2:17-CV-00456-JRG
                                                  §
TESCO OFFSHORE SERVICES, INC.,                    §
TESCO OFFSHORE SERVICES LLC,                      §
                                                  §
                Defendants.                       §

                                            ORDER

       The Court issues this Order sua sponte. On December 6, 2018, the Parties represented to

the Court that the above-captioned case had settled in its entirety. Accordingly, it is ORDERED

that all unreached deadlines contained in the Court’s Docket Control Order are stayed as to all

parties until March 31, 2019, during which time final dismissal papers shall be jointly submitted

to the Court for entry.

       So Ordered this
       Dec 12, 2018
